                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      at CHATTANOOGA

 UNITED STATES OF AMERICA,                            )
                                                      )
 Plaintiff,                                           )
                                                      )             Case No. 1:13-cr-128
 v.                                                   )
                                                      )             Judge Mattice
                                                      )
 JERRY WAYNE ALEXANDER, JR.,                          )             Magistrate Judge Lee
                                                      )
 Defendant.                                           )
                                                      )

                                                 ORDER

         On June 20, 2014, United States Magistrate Judge Susan K. Lee filed a Report

 and Recommendation (Doc. 150) pursuant to 28 U.S.C. § 636(b)(1). Magistrate Judge

 Lee recommended that Defendant’s motion to suppress evidence obtained pursuant to

 the Warrant (Doc. 127) be denied and that Defendant’s motion to suppress his

 statements to law enforcement officers on the date of his arrest (Doc. 125) be denied as

 moot. (Id. at 1).

         Defendant has filed no objections to the Magistrate Judge’s Report and

 Recommendation.1 Nevertheless, the Court has reviewed the record in this matter, and

 it agrees with the Magistrate Judge’s well-reasoned conclusions.

         Accordingly, the Court ACCEPTS and ADOPTS Magistrate Judge Lee’s findings

 of fact and conclusions of law. Defendant’s motion to suppress evidence obtained

 pursuant to the Warrant (Doc. 127) is hereby DENIED, and Defendant’s motion to


 1 Magistrate Judge Lee specifically advised Defendant that he had 14 days in which to object to the Report

 and Recommendation and that failure to do so would waive his right to appeal. (Doc. 150); see Fed. R.
 Civ. P. 72(b)(2); see also Thomas v. Arn, 474 U.S. 140, 148-51 (1985) (noting that “[i]t does not appear
 that Congress intended to require district court review of a magistrate's factual or legal conclusions, under
 a de novo or any other standard, when neither party objects to those findings”).



Case 1:13-cr-00128-TRM-SKL              Document 166          Filed 07/18/14        Page 1 of 2       PageID
                                              #: 517
 suppress his statements to law enforcement officers on the date of his arrest (Doc. 125)

 is hereby DENIED AS MOOT.



       SO ORDERED this 18th day of July, 2014.

                                                   /s/ Harry S. Mattice, Jr._______
                                                   HARRY S. MATTICE, JR.
                                                UNITED STATES DISTRICT JUDGE




                                            2

Case 1:13-cr-00128-TRM-SKL       Document 166     Filed 07/18/14    Page 2 of 2    PageID
                                       #: 518
